

ORDER

PER CURIAM.
AND NOW, this 13th day of December, 2004, upon consideration of the Report and *254Recommendations of the Disciplinary Board and Dissenting Opinion dated August 27, 2004, it is hereby
ORDERED that SHARON GOLDIN-DIDINSKY a/k/a SHARON GOLDIN CI-BOROWSKI, be and she is SUSPENDED from the Bar of this Commonwealth for a period of one year and one day, and she shall comply with all the provisions of Rule 217 Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
